Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.26   Filed 02/04/25   Page 1 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.27   Filed 02/04/25   Page 2 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.28   Filed 02/04/25   Page 3 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.29   Filed 02/04/25   Page 4 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.30   Filed 02/04/25   Page 5 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.31   Filed 02/04/25   Page 6 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.32   Filed 02/04/25   Page 7 of 10
Case 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.33   Filed 02/04/25   Page 8 of 10
e 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.34   Filed 02/04/25   Page 9 o
e 1:25-cv-00020-JMB-SJB   ECF No. 5, PageID.35   Filed 02/04/25   Page 10 o
